                                 UNITED STATES DISTRICT COURT
                                             For The
                                MIDDLE DISTRICT OF FLORIDA
                                        (Ft. Myers Div.)

                                       Case No. 2:17-CV-FtM-99CM

MICHAEL PAPPALARDO, (An Individual)

                         (Plaintiff)

                 vs.

SAMANTHA STEVINS, ESQ. (An
Individual)

                         (Defendant(s)



                               AMENDED COMPLAINT
                       FOR DAMAGES AND DECLARATORY RELIEF

                                   DEMAND FOR JURY TRIAL

        The Plaintiff, Michael F. Pappalardo, (hereinafter also “PAPPALARDO” or

“INVENTOR”), by counsel, alleges for his Complaint, against the Defendants, Samantha Stevins,

Esq., (“STEVINS”), upon knowledge, with respect to his own acts, and upon information and

belief, as to all other matters, as follows:

                                          Nature of the Action

        This is an action for fraud, (Count I), negligent misrepresentation, (Count II), and

declaratory relief (Count III), under state law. The gravamen of the Amended Complaint

PAPPALARDO against STEVINS, is the STEVINS inducement of PAPPALARDO, acting

through her patent attorney, to designate STEVINS as a “joint inventor” of the PAPPALARDO

technology and inventions, thereby unknowingly causing PAPPALARDO’s loss of exclusive

rights to make, use and exploit the PAPPALARDO technology and inventions, under Federal Law,


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(35 USC §262)


                                     Jurisdiction and Venue

        1.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§1331 (federal question – patent laws of the United States), 28 USC 1332 (diversity of citizenship),

28 U.S.C. §1338 (patent laws of the United States), 28 U.S.C. §1367 (supplemental jurisdiction),

and principals of ancillary and pendent jurisdiction.

        2.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b), §1391(c),

and otherwise because, among other things, both the Defendant, personally resides in this judicial

district; and a substantial part of the events, giving rise to this action, occurred in this judicial

district.

                                              Parties

        3.     The Plaintiff, Michael F. Pappalardo, is an individual, a citizen of Pennsyslania,

residing in the city of Hawley, Pennsyslania. Mr. Pappalardo’s CV is annexed hereto as Exhibit

“A”.

        4.     The Defendant, Smantha Stevins is an individual, a citizen of Florida, residing in

the city of Naples, Florida. Stevins, by education, training and experience. is an atttorney admitted

to practice in Florida, having offices in Ft. Myers and Naples, Florida. Ms. Stevins education,

credentials, and professional experience, is summarized in her on-line Bio, which is annexed hereto

as Exhibit “B”.




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                                        Background Facts

       5.      At all times material hereto, PAPPALARDO was unrepresented by independent

legal counsel, in his dealings with STEVINS; and, was discouraged by STEVINS to engage

independent legal counsel.

       6.      The Plaintiff, PAPPALARDO, has over his professional career, which has spanned

more than twenty-five (25) years, been involved, in the pharmaceutical industry.            More

specifically, since 1992, (from date of receipt of his BS degree), he was employed intitailly as a

Research Scientist, in Pharmaceutical Development; and, thereafter, as a Product Manager, for

international drug companies engaged in the development of proprietary pharmaceutical products,

specifically, solid, (tablets and powder), and liquid drug formulations.

       7.      The Defendant, STEVINS, is an attorney admitted to practice in Florida. Upon

informatin and belief does not have any scientific training and/or experience in creation,

development and/or marketing pharmaceutical products.

       8.      In May 2016, PAPPALARDO met STEVINS at a pharmaceutical products trade

show, in Las Vegas, where PAPPALARDO disclosed to STEVINS, in general terms, his product

concept for a pharmaceutical product, and his desire to commercialize same.

       9.      At this May 2016, meeting, and in subsquent meetings/communications thereafter,

between STEVINS, (residing in Florida) and, PAPPALARDO, (residing in Pennsylvania),

STEVINS represented to PAPPALARDO that she had access to funding, from her network of

investors, who were looking for technology investments in the pharma technology space, which

was false.

       10.     In reliance upon the foregoing STEVINS representations of access to captial from

her network of investors, who were looking for technology based investments in the pharma


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technology space, PAPPALARDO expressed interest in both meeting with, and in making a

presentation of his product concept, to the STEVINS’ network of investors.

       11.     Nothwithstanding, PAPPALARDO’s interest, as set forth in Paragraph (10) above,

PAPPALARDO had concerns, which he expresed to STEVINS; to preserve his inventions and

technology confidential, whereupon STEVINS recommended the filing of a patent application, to

protect confidentiality and PAPPALARDO’s proprietary interests.

       12.     STEVINS recommended the filing of a patent application, through an attorney in

Naples of her choosing, with whom she had a professional relationship.

       13.     STEVINS agreed to share in the payment of the attorney fees and costs, in return

for her being designated as a “joint inventor” of the PAPPALARDO, on the inventor’s oath or

declaration Declaration, under 35 USC §115, (which was to accompany patent application filing)

STEVINS Declaration of “joint inventor” annexed hereto as Exhibit “C””

       14.     A patent applicatoin, in the joint names of PAPPALARDO amd STEVINS was

subsequently submitted, in their joint names, on shortly thereafter on September 26, 2017, U.S.

patent application SN 15/275,597. This patent application is and remains pending, as of the time

of the filing of this Amended Complaint.


                                              COUNT I
                                               (Fraud)

       15.     PAPPALARDO herein incorporates by reference Paragraphs 3-14, inclusive, as if

restated herein, and alleges further:

       16.     At the initial meeting between PAPPALARDO and STEVINS in May 2016,

meeting, and in subsquent meetings/communications thereafter, STEVINS affirmatively




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represented to PAPPALARDO, that she had a “network” of investors who had an interest in the

PAPPALARDO technology and inventions, which was false.

       17.     STEVINS knew that her statements, as set forth in Paragraph (16) to

PAPPALARDO, relative to her “network” of investors, and/or her assurances as to her access to

investor capital, to fund the development of the PAPPALARDO technology and inventions, were

false when such statements were made, or STEVINS made such statements, and gave assurance

of access to investor capital to PAPPALARDO, knowing she was without knowledge of their truth

or falsity, and thereby made in wreckless disregard of the accuracy thereof.

       18.     STEVINS made the represesentations, as set forth in Paragraph (16) to

PAPPALARDO, intending that the PAPPALARDO rely and act upon such false represesentations,

to induce PAPPALARDO (a) to refrain/discontinue his pursuit of alternative sources of the

capital/investors to fund the development of the PAPPALARDO technology and inventions, (b)

to disclose his confidential and proprietatary information, relative to the PAPPALARDO

technology and inventions, to STEVINS; (c) to file a US patent application, through a patent

attorney of STEVINS choosing; and, (d), to agree (on September 26, 2017), to the STEVINS’s

patent attorney naming STEVINS as a joint inventor, based solely upon her contribution to her

attorney fees and costs.

       19.     STEVINS knew, on September 26, 2017, that her patent attorney designation of

STEVIS, as a “joint inventor”, as set forth in Paragraph (18), permitted STEVINS to make, use

and exploit of the PAPPALARDO technology and inventions, as descived and claimed in U.S.

patent application SN 15/275,597, independent of PAPPALARDO and without accounting to

PAPPALARDO, (35 USC §262). STEVINS Declaration of herself as a “joint inventor” of the of

the PAPPALARDO technology and inventions, annexed hereto as Exhibit “C”.



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        20.     PAPPALARDO justifiably relied upon STEVINS represesentations, as set forth in

Paragraph (16), and, acted in reliance thereof, as set forth in Paragraph (18), thereby unknowingly

relinquished his exclusive ownership and control to the PAPPALARDO technology and

inventions.

        21.     As a direct and proximate result the PAPPALARDO loss of exclusive ownership

and control to the PAPPALARDO technology and inventions to STEVINS, STEVINS has and

continues, independent of PAPPALARDO, attempted to independently to exploit the

PAPPALARDO technology and inventions, to the exclusion of PAPPALARDO, and without

accounting to PAPPALARDO.

        22.     As a direct and proximate result of the STEVIS acts and/omissions, as set forth

above in Paragraphs 17 to 21 inclusive, PAPPALARDO suffered damages in excess of $75,000,

or according to proof.

        WHEREFORE, the PAPPALARDO requests the Court instruct the jury to find that

PAPPALARDO suffered damages as a direct and proximate result of the STEVINS fraud upon

PAPPALARDO, award PAPPALARDO damages. of not less than $75,000, as actual and

consequential damages.

                                                COUNT II
                                         (Negligent Representation)

        23.     PAPPALARDO herein incorporates by reference Paragraphs 3-14 and 15 to 22,

inclusive, as if restated herein, and alleges further.

        24.     At the initial meeting between PAPPALARDO and STEVINS in May 2016,

meeting, and in subsquent meetings/communications, thereafter, STEVINS affirmatively

represented to PAPPALARDO, that she had a “network” of investors who had an interest in the

PAPPALARDO technology and inventions, were false.


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        25.     At the time STEVINS affirmatively represented to PAPPALARDO, that STEVINS

had a “network” of investors who had an interest in the PAPPALARDO technology and

inventions, was negligent in making such represemtations, because STEVINS should have known

that such representations was false.

        26.     As a direct and proximate result of the STEVIN acts and omissions as set forth in

Paragraph 24 to 26, inclusive, PAPPALARDO unknowingly relinquished exclusive ownership

and control to the PAPPALARDO technology and inventions to STEVINS, and STEVINS has

thereafter, independent of PAPPALARDO, attempted to independently to exploit the

PAPPALARDO technology and inventions, to the exclusion of PAPPALARDO, and without

accounting to PAPPALARDO

        27.     As a direct and proximate result of the STEVIS negligence, as set forth above in

Paragraphs 22 to 26, inclusive, PAPPALARDO suffered damages in excess of $75,000, or

according to proof.

        WHEREFORE, the PAPPALARDO requests the Court instruct the jury to find that

PAPPALARDO suffered damages as a direct and proximate result of the STEVINS negligence,

and award PAPPALARDO damages. of not less than $75,000, as actual and consequential

damages.


                                                 COUNT II
                                           Declaratory Judgment
                                          (Fla Stat §86.011 et seq.,)

        28.     PAPPALARDO herein incorporates by reference Paragraphs 3-14 and 24 to 26,

inclusive, as if restated herein, and alleges further:




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       29.     The subject matter claimed in US patent application SN 15/275,597 (filed

September 26, 2017), was conceived by PAPPALARDO, prior to his first meeting with STEVINS

in May 2016; and, was his sole and exclusive intellectual property.

       30.     At no time did STEVINS independently conceive any of the inventions described

and claimed in US patent application SN 15/275,597.

       31.     At no time did STEVINS jointly collaborate with PAPPALARDO in the

conception any of the claimed inventions in US patent application SN 15/275,597.

       32.     PAPPALARDO was advised by STEVINS, which was confirmed by the patent

attorney selected by her, that STEVINS contribution to the attorney fees for the preparation and

filing of a patent application for the claimed inventions in US patent application SN 15/275,597,

entitled her to be named as a joint inventor with PAPPALARDO, which was false

       33.     On September 19, 2016, each of PAPPALARDO and STEVINS seperately

executed individual Declarations, asserting under penalty of perjury (18 USC 1001), that each of

them were “an original inventor or original joint of the claimed invention in this application”

(US Patent application SN 15/275,597)

       34.     PAPPALARDO disputes that STEVINS made any individual contribution to any

of the claimed inventions in US patent application SN 15/275,597.

       35.     PAPPALARDO disputes that STEVINS made any joint contribution to any of the

claimed inventions in US patent application SN 15/275,597

       36.     Thus, there exists an actual and justiciable controversy between the parties, relative

to the inappropriate Declaration of STEVINS as an “original inventor” and/or “joint inventor” of

the subject matter claimed in U.S. Patent application SN 15/275,597.

       WHEREFORE, PAPPALARDO requests the Court find and declaration that



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       (a)     The STEVINS contribution to the payent of attorney fees and costs does not entitle

               STEVINS to be named as an inventor of any claimed invention in US Patent

               Application SN 15/275,597; and/or

       (b)     The STEVINS Declaration of inventorship does not conform to the requirements

               of 35 USC 115, because it falsely states that she is “an original inventor or original

               joint of the claimed invention in US Patent Application SN 15/275,597.


                                      JURY TRIAL DEMAND

       PAPPALARDO herein demands a Jury Trial, as to all factual matters, raised by the

allegations in this Complaint, and in any subsequent amended Complaint, which are in dispute and

properly submitted to a Jury for determination.

                                                             Respectfully,



                                                             /s/ John H. Faro
                                                             John H. Faro, Esq.
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   EXHIBIT “1”
(PAPPALARDO’S CV)




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     EXHIBIT “2”
(STEVIN’S “On-Line” Bio)




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          EXHIBIT “3”
(STEVIN’S Declaration of Inventorship)




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                          CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that a true and correct copy of the foregoing document was filed

electronically, and/or was sent by E-Mail to all counsel or parties of record listed below, not

otherwise of entitled to receive an electronic copy thereof from the Court, this 28th day of July

2017.

                                                           Respectfully,



                                                           /s/John H, Faro, Esq.
                                                           FBN 527,459
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